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     UNITED STATES DISTRICT COURT
     DISTRICT OF NEW JERSEY

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     N.V.E.                             CIVIL ACTION

                                        DOCKET NO. 06 cv-5455-GEB-ES

                                        Motion date: May 26, 2011

                 Plaintiff,             BRIEF IN SUPPORT
                                        OF COUNSEL’S MOTION TO
     v.                                 WITHDRAW FROM REPRESENTATION
                                        OF JESUS J. PALMERONI
     JESUS J. PALMERONI et. al.

                 Defendants.


     JESUS J. PALMERONI


                 Third Party Plaintiff

     v.

     N.V.E., Robert Occhifinto and Walter Orcutt

                 Third Party Defendants
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                      Preliminary and Factual Statement


           The Law Office of Fred Shahrooz Scampato, P.C.,                         and

     David    Rostan,       Attorney      at       Law,     currently       represent

     defendant/third party plaintiff, Jesus Joseph Palmeroni in

     the above matter and bring this motion pursuant to Local

     Civil Rule 102.1

              The     attorney-client            relationship        between       Mr.

     Palmeroni       and     ourselves       has        become    untenable,       and

     consequently, we are applying to the Court for leave to

     withdraw from that representation pursuant to Local Civ. R.

     102.1 and RPC 1.16(b). Despite our best efforts, we have

     been unable to bridge multiple differences in our approach

     to this litigation. Our differences are such that we can no

     longer    represent      our      client      as     his    approach     to   the

     responsibilities of litigation is fundamentally in conflict

     with our own. These differences are sufficiently great that

     we cannot continue to properly represent Mr. Palmeroni. Mr.

     Palmeroni        has       also         failed         to      satisfy        his

     financial/litigation cost obligations that he owes to our

     firms     and     our     continued           representation       poses       an

     unreasonable financial burden and hardship as well as an

     insurmountable        obstacle     to   our     effective      representation

     pursuant to the Code of Professional Responsibility.

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           As of the present date, it is likely that a great deal

     more discovery has to take place before this matter is

     ready for trial.         There is currently a pending motion to

     amend, and if granted, this motion will virtually turn this

     into a new case.        Up until this point, there have only been

     essentially      three      parties:        N.V.E,      Palmeroni            and

     Sumicek/Sunbelt.        If the motion to amend is granted, then

     the number of parties shall likely multiply by ten fold.

     This increase in the scope of litigation is beyond that

     which    was   contemplated    by   the    parties     when       we    drafted

     retainer    agreements     with    Mr.    Palmeroni.         As    such,     Mr.

     Palmerton’s failure to make good regarding his financial

     and other obligations would be an express violation of the

     contact which he entered into with his counsel.

           Above and beyond the unreasonable financial burdens

     implicating       our      professional       responsibilities               are

     fundamental     conflicts     between      Mr.   Palmeroni             and   his

     attorneys.     These conflicts have persisted for months, and

     we have discussed them repeatedly and at great length with

     Mr.     Palmeroni,   but    have    been     unable     to        bridge     our

     differences.

           Recent developments have exacerbated the issues to the

     point where we are no longer able to continue to represent


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     him.     Prior      to    filing     this       motion,      we     communicated    a

     request to Mr. Palmeroni that he consent to our application

     to withdraw.        Mr. Palmeroni never responded to us directly,

     and instead, wrote a letter directly to the court on April

     19,    2011.      Since    late    April       2011,   Mr.     Palmeroni      has not

     responded to emails concerning the substance of his case.

                                       LEGAL ARGUMENT

            Federal courts in this district apply Local Civil Rule

     102.1 to applications by attorneys to withdraw from a case.

     Local    Civil      Rule    102.1    provides          that,      "[u]nless    other

     counsel      is    substituted,         no      attorney       may    withdraw     an

     appearance except by leave of Court."

            The   New    Jersey    Rules      of     Professional         Conduct    (RPC)

     also    apply.     RPC     1.16(a)   provides;         “Except       as   stated   in

     paragraph (c), a lawyer shall not represent a client or,

     where representation has commenced, shall withdraw from the

     representation of a client if: (1) the representation will

     result in a violation of the Rules of Professional Conduct

     or other law; (2) the lawyers physical or mental condition

     materially        impairs    the    lawyers      ability       to    represent     the

     client; or (3) the lawyer is discharged.”

            New     Jersey      Rule    of      Professional           Conduct     1.16(b)

     permits an attorney to withdraw from representing a client

     under one or more of the following circumstances:

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           (1) Withdrawal can be accomplished without material

     adverse effect on the interests of the client;

           (2)    the   client    persists    in     a    course     of     action

     involving the lawyer's services that the lawyer reasonably

     believes is criminal or fraudulent;

           (3)    the   client   has   used   the    lawyer's       services   to

     perpetrate a crime or fraud;

           (4) the client insists upon taking action that the

     lawyer considers repugnant or with which the lawyer has a

     fundamental disagreement;

           (5)    the   client   fails    substantially        to   fulfill    an

     obligation to the lawyer regarding the lawyer's services

     and has been given reasonable warning that the lawyer will

     withdraw unless the obligation is fulfilled;

           (6) the representation will result in an unreasonable

     financial     burden   on   the     lawyer     or   has   been       rendered

     unreasonably difficult by the client; or

           (7) other good cause is shown for withdrawal exists.

     See Haines v. Liggett Group, Inc., 814 F. Supp. 414, 422

     (D.N.J. 1993) (discussing standard for withdraw)

           Even if counsel seeking to withdraw demonstrates "good

     cause" as defined in RPC 1.16(b),              a decision with respect

     to withdrawal remains entirely within the discretion of the

     court.      Haines, 814 F. Supp. at 422.            Following a finding

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     of     good   cause    for    withdrawal,         the    Court     should    also

     consider: "(1) the reasons why withdrawal is sought, (2)

     the prejudice withdrawal may cause to litigants, (3) the

     harm     withdrawal     might      cause    to     the    administration         of

     justice and (4) the degree to which withdrawal will delay

     the resolution of the case." Haines, 814 F. Supp. at 423;

     accord    U.S.   ex.    rel.,      Cherry   Hill    Convalescent         Ctr.    v.

     Healthcare Rehab. Sys., Inc., 994 F. Supp. 244, 252-253

     (D.N.J. 1997).        See Bogart v. Moda Entertainment, 2009 U.S.

     Dist. LEXIS 64969, 1-3 (D.N.J. July 24, 2009)

            Courts permit withdraw where there is an irreparable

     rift     between       plaintiff      and     counsel         or    where       the

     relationship       between      counsel     and     plaintiff      has      become

     dysfunctional,        and    the   Court    can    see   no    reason    why     it

     should require counsel to continue to represent plaintiff.

     McGuire v. Wilson, 735 F. Supp. 83, 85 (S.D.N.Y. 1990).

            Another circumstance where withdraw is permitted is in

     the case of a breakdown of the attorney-client relationship

     where counsel will not be able to effectively prosecute

     plaintiff's claims. See Chambon v. Chambon, 238 N.J. Super.

     225, 231, 569 A.2d 822 (App. Div. 1990) See also Greig v.

     Macy's Northeast, 1996 U.S. Dist. LEXIS 22142 (D.N.J. Nov.

     21, 1996)



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            Justifiable        cause       for     an      attorney's       withdrawal

     includes     the   failure      or    refusal      of   a   client     to    pay   or

     secure the proper fees or expenses of the attorney after

     being seasonably requested to do so. Jacobs v. Pendel, 98

     N.J. Super. 252, 255 (App.Div. 1967) See also Capogrosso v.

     30   River    Court      E.   Urban    Renewal      Co.,    2009      N.J.    Super.

     Unpub.     LEXIS    185,      17-18    (App.Div.        Feb.     4,   2009)     Team

     Obsolete, Ltd. v. A.H.R.M.A. Ltd., 464 F. Supp. 2d 164

     (E.D.N.Y. 2006)


            While delay may be occasioned by withdraw of counsel

     “mere delay is an insufficient basis upon which to deny

     this    motion     [to   withdraw].”         The   Court    to    dissipate        any

     prejudice caused by the grant of this motion may extend the

     deadlines set in the scheduling order and grant the client

     of   the     withdrawing       counsel       thirty     days     to   retain       new

     counsel or to enter a pro se appearance. Greig v. Macy's

     Northeast, 1996 U.S. Dist. LEXIS 22142 (D.N.J. Nov. 21,

     1996)




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                                    CONCLUSION

           Based upon the foregoing as well as information to be

     supplied    in   camera   to   the       Court   in   order   to   preserve

     attorney    client    privilege,         counsel      for   Mr.    Palmeroni

     respectfully requests that our motion be granted.

     Dated:      May 6, 2011

                                          By:

                                          /s/
                                          ______________
                                          David Rostan, Esq.



                                          /S/
                                          ____________________________
                                          Fred Shahrooz Scampato, Esq.




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